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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                         Plaintiff,
vs.                                                     Criminal No. 05-80231
                                                        Honorable Patrick J. Duggan
D-5 CARTRELL TATE,

                  Defendant.
________________________________/

                           PRELIMINARY ORDER OF FORFEITURE

         WHEREAS, the Indictment issued April 4, 2005, charged defendant Cartrell Tate with

violations of 21 U.S.C. §846 and § 841 (Conspiracy to possess with intent to distribute and to

distribute a controlled substance and Distribution of a controlled substance);

         WHEREAS, the Indictment contained a Money Judgment Count, which sought, upon

conviction of one or more of the controlled substance violations, entry of a money judgment equal

to Five Hundred Thirty-Two Thousand Four Hundred Dollars ($532,400.00) in United States

Currency funds, for which the defendants would be jointly and severally liable.

         WHEREAS, on May 10, 2006, defendant Cartrell Tate entered into a Rule 11 Plea

Agreement and pled guilty to Count One of the Indictment, including the forfeiture as set forth

above;

         NOW THEREFORE, a money judgment in the amount of Five Hundred Thirty-Two

Thousand Four Hundred Dollars ($532,400.00) is entered against defendant Cartrell Tate, for which

he is joint and severally liable with his co-defendants, Michael Elliott and Damian Ball.

         Upon entry of this Order, the United States or a designee is authorized to seize any assets that


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could satisfy the money judgment, pursuant to Federal Rule of Criminal Procedure 32.2(b)(3).

       The Court shall retain jurisdiction to enforce this Order, and to amend it as necessary,

pursuant to Fed.R.Crim.P. 32.2(e).

                                                     SO ORDERED.



                              s/Patrick J. Duggan
                              Patrick J. Duggan
                              United States District Judge

Dated: January 5, 2007

I hereby certify that a copy of the foregoing document was served upon counsel of record on January
5, 2007, by electronic and/or ordinary mail.

                              s/Marilyn Orem
                              Case Manager




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